Case 2:05-CV-02287-dkv Document 9 Filed 07/08/05 Page 1 of 2 Page|D 3

IN THE UNITED STATES DISTRICT COURT F"`ED BY 9 :;" D`("
FOR THE WESTERN DISTRICT 0F TENNESSEE 05 JUL _8 m 8, 59

 

WESTERN DIVISION
mem a sam
CLEHK, vs guam mar

) W!{," C=F time M&FSPHES
ZIAD SAID OZRAIL, )
)
P}aintiff, )
)

v. ) Civil Action No. 05-2287 B V

)
Z BEST OIL CO. INC., HAITHAM A. )
ALYOUSEF and NASSER OZRAIL, )
dib/a Z BEST MARKET, )
)
Defendants. )
)

 

ORDER ADMITTING COUNSEL PRO HAC VICE

Upc)n Motion to Admit Counsel Pro Hac Vice filed herein by James R. Newsom
III, a member of the bar of this Honorable Court,

IT IS ORDERED, ADJUDGED AND DECREED by the Court that:

Frank P. Presta, Attorney at Law, Who is duly authorized to practice law in the
United States District Court for the Northern District of Virginia, and is in good standing
as a member of the bar of said Court, is hereby admitted pro hac vice in the above named
case filed in this Court pursuant to pursuant to L ca1 Rule 83. l(b).

_ q?\
IT ls so ORDERED ring 7 day 0 ,2005.

 
 

 

_D NIEL BREEN. \
UN ED sTATEs DISTRICT JUDGE

939736

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CV-02287 Was distributed by faX, mail, or direct printing on
July 8, 2005 to the parties listed.

 

 

J ames R. NeWsom

HARRIS SHELTON HANOVER V\MLSH7 PLLC.
One Commerce Square

Ste. 2700

Memphis7 TN 38103--255

Frank P. Presta

NIXON & VANDERHYE, P.C.
1100 N. Glebe Road

Sth Floor

Arlington, VA 22201

Honorable J. Breen
US DISTRICT COURT

